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                 EXHIBIT II
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                                                       8802 2018-10-01 20-00-13 09350-001.wav

                                        TRANSCRIPT

 1          AUTOMATED VOICE: Welcome to the conference calling center. At any time
 2   during this message, please enter your passcode followed by the pound sign. [9 long beats]
 3   Your passcode has been confirmed. If you need technical assistance during your call, press *0
 4   [star zero]. After the tone, please state your name followed by the # [pound] sign.

 5          RICK SINGER: Rick Singer.

 6          AUTOMATED VOICE: There are four parties in the conference, including you. Rick
 7   Singer is now joining.

 8          RICK SINGER: Helloo.

 9          MULTIPLE SPEAKERS: Hey Rick.

10          FEMALE SPEAKER: Hello. Hi.

11          AUTOMATED VOICE: Is now joining.

12          UNKNOWN SPEAKER: Who’s that?

13          AUTOMATED VOICE: Don Heller is now joining.

14          DON HELLER: Don Heller.

15          ERIC ROSEN: Hey Don.

16          DON HELLER: Hey, how are you, Eric?

17          ERIC ROSEN: Good. I think everybody’s on. Justin are you there? No.., but we can
18   start, so-- start. I got to speak a little quietly. So Rick, we went through a couple, bunch of
19   calls to- today. The one with Donna, John Wilson, Michelle, and                       .

20          RICK SINGER: Yes.

21          ERIC ROSEN: Umm. It was good. Some of them are good. Some I just want to give
22   you a little bit more sort of pointers on and um that we can talk about it going forward. The
23   best one was the um session with Donna that you had uhm in the --

24          AUTOMATED VOICE: Is now joining.

25          ERIC ROSEN: So, the one with Donna is great. The one thing that I think we’ll do
26   another call at some point fairly soon is uhm… you know, you and Donna talk about a couple


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 1   things. You talk about sports. You’re saying like “she’s good at sports” or “he’s good at
 2   sports.” I think if we can you know, obviously like, tone that down a little bit uhm and uh tone
 3   that down a little bit. And, you know, you don’t have to hype up their sporting abilities. I
 4   think generally, I mean all of these people aren’t getting recruited by USC. You know, I think
 5   that’s the message that we sort of want to get across. In the call with Donna you talk about
 6   extended time referring to the SAT, talking about            Janavs. Does she know about the
 7   extended time, for like the stuff with Mark Riddell and all that?

 8          RICK SINGER: No, she doesn’t know anything about it. But she asked a question of
 9   why her GPA is so low and her test scores are high. She said
10              and I said “Yes, she has a                     and she gets extended time.” So that
11   she can put that in her notes, because Admissions is going to ask her that question, why is there
12   such a difference?

13          ERIC ROSEN: And Rick, you’re calling in on your uh, the burn-, uhh, on the flip
14   phone, right?

15          RICK SINGER: No, I’m calling them on the phone you told me call on, I thought.

16          ERIC ROSEN AND ANOTHER SPEAKER: No, right now-- currently.

17          RICK SINGER: So like today when I made the phone calls, I called them on my normal
18   phone, my normal cell phone.

19          ERIC ROSEN: No, no, we’re talking about right now. Are you call-

20          RICK SINGER: Oh, no, I can’t use that phone. It doesn’t dial. It takes me ten minutes
21   to even get to dial Don. The most impractical, impossible phone. Seriously, I tried to get Don
22   - ten minutes it took me this morning to call him because I couldn’t get to the numbers and, I
23   tried to, it’s a nightmare. I’m calling you right now from my regular phone because I would
24   never be able to get on.

25          DON HELLER: Ohh, I think that’s going to end this call right now. Rick.

26          RICK SINGER: Wh-

27          ERIC ROSEN: Rick, you need to umm…

28          RICK SINGER: You guys need to give me another phone. This is ridiculous.


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1          ERIC ROSEN: We will give you another phone on Friday, but for right now I, I, you
2   need to… Don, can you call him and conference him in?

3          DON HELLER: I can. Let me try. I’ll call- I’ll try calling your...

4          RICK SINGER: Yeah, I can answer the cell phone but I can’t…

5          DON HELLER: Let me um- let me hang up. Oh actually, I don’t have to hang up.

6          ERIC ROSEN: Rick, you hang up right now your phone.

7          RICK SINGER: My phone? This phone? Okay got it.




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